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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

   UNITED THERAPEUTICS                               )
   CORPORATION,                                      )
                                                     )
                          Plaintiff,                 )
                                                     )
           v.                                        ) C.A. No. 20-755 (RGA) (JLH)
                                                     )
   LIQUIDIA TECHNOLOGIES, INC.,                      )
                                                     )
                          Defendant.                 )

            STIPULATION OF PARTIAL JUDGMENT OF NON-INFRINGEMENT
          WHEREAS, the Court has construed the term “contacting the solution comprising

  treprostinil from step (b) with a base to form a salt of treprostinil” in claims 1 and 8 of U.S. Patent

  No. 9,604,901 (the “’901 patent”) to mean “contacting the solution comprising treprostinil from

  step (b) with a base to form a salt of treprostinil, wherein the salt is formed without isolation of

  treprostinil after alkylation and hydrolysis” (D.I. 245);

          WHEREAS, Plaintiff has preserved its argument for a different construction of that term;

          WHEREAS, based on the discovery in the litigation Plaintiff does not contend that

  Defendant’s current product infringes the ’901 patent under the Court’s construction of that term;

          WHEREAS, to simplify the proceedings and facilitate appellate review of the Court’s

  claim construction, Plaintiff agrees to the ministerial step of the entry of judgment of

  noninfringement as to the ’901 patent under the Court’s construction of that term, while preserving

  its appellate rights;

          NOW, THEREFORE, based on the Court’s construction of that term, Plaintiff hereby

  stipulates and agrees to the entry of a partial judgment reflecting the Court’s claim construction,

  as follows:
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         Judgment of Non-Infringement of U.S. Patent No. 9,604,901 is entered for
         Defendant and against Plaintiff on Counts 3 and 4 of the First Amended Complaint
         (D.I. 16);

         Plaintiff expressly reserves and does not waive its ability to challenge the Court’s
         claim-construction ruling on appeal, and therefore to challenge the above
         disposition of Counts 3 and 4 and Counterclaim IV on appeal.

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   December 28, 2021


  IT IS SO ORDERED on this ________ day of                   , 202   .



                                                 ____________________________________
                                                             J.




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on December 28, 2021, I caused the foregoing to be electronically

  filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

  registered participants.

         I further certify that I caused copies of the foregoing document to be served on December

  28, 2021, upon the following in the manner indicated:

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